Case 6:16-cv-00982-CE|\/|-TBS Document 192 Filed 03/27/18 Page 1 of 6 Page|D 4949

UNITED STATES DlSTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

 

oRLANDo DivisIoN
FEDERAL TRADE COMMISSION, and Case No. 6;16-cv-982-or1-41TBS
oFFiCE oF THE ATToRNEY GENERAL, E_Fiied March 27, 2013

STATE OF FLORIDA,
DEPARTMENT OF LEGAL AFFAIRS,

Plaintiffs,
v.
LIFE MANAGEMENT SERVICES OF ORANGE

COUNTY, LLC, a Floi‘ida limited liability
company, et al.,

 

Defendants.

NOTICE TO THE COURT OF UNRESOLVED DISPOSITIVE MOTIGN

Plaintiffs Federal Trade Commission and Oft`ice of the Attomey General, State of
Florida, Department of Legal Affairs, respectfully submit this Notice pursuant to Local
Rule 3.01(h), and state the following:

l. On May l, 2017 , Plaintit`fs filed a dispositive motion for summary judgment
against Defendant Kevin Guice (Doc. 163). Defendant Guice filed an opposition on June
2 (Doc. 168), and Plaintiffs filed a reply, With the Court’s permission, on June 14 (Doc.
175).

2. Local Rule 3.01(h) states, “[a]ll dispositive motions Which are not decided
Within one hundred and eighty (180) days of the responsive filing . . . shall be brought to

the attention of the district judge by the movant by filing a ‘Notice To the Court’ Within ten

Case 6:16-cv-00982-CE|\/|-TBS Document 192 Filed 03/27/18 Page 2 of 6 Page|D 4950

days . . . .”

3. Local Rule 3.01(h) continues, “[m]ovant shall file an additional ‘Notice to
the Court’ after the expiration of each and every additional thirty day period during Which
the motion remains undecided.” The rule further provides, “[m]ovant shall provide the
Chief Judge of the Middle District With a copy of each and every ‘Notice To The Court’
Which movant is required to file under this rule.”

4. December 11, 2017, Was 180 days from June 14, 2017, the date on Which
Plaintiffs filed the reply in support of their dispositive summary judgment motion against
Defendant Guice.l

5. Plaintiffs previously filed Notices to the Court under Local Rule 3.01(h) on

December 21, 2017, January 23, 2018, and February 22, 2018.

Dated: March 27, 2018. Respectfully submitted,

©RAAMn)d/\ i\icm“f\i¥j/\AW…

Jenfiifer HintoH Knutton

A§sistant Attorney General

Florida Bar # 92771
Jennifer.Knutton@myfloridalegal.com

 

Denise Beamer

Assistant Attorney General

Florida Bar #69369
Denise.Beamer@myfloridalegal.com
Office of the Attomey General
Consumer Protection Division

135 W. Central Blvd., Suite 670
Orlando, Florida 32801

 

1 On September 1, 2017, Plaintiffs filed a Status Report and Notice of Filing Thiiteen
Proposed Stipulated Orders (Doc. 185). Those proposed stipulated orders Would resolve
Plaintiffs’ claims against the other 19 Defendants in this action.

2

Case 6:16-cv-OO982-CE|\/|-TBS Document 192 Filed 03/27/18 Page 3 of 6 Page|D 4951

Telephone: (407) 316-4840
Facsimile: (407) 245-0365

Attomeys for Plaintiff

OFFICE OF THE ATTORNEY GENERAL
STATE OF FLORIDA

DEPARTMENT OF LEGAL AFFAIRS

DAVID C. SHONKA
Acting General Counsel

/s/ Joshua A. Doan

Joshua A. Doan

Tel: (202) 326-3187
jdoan@f`tc. gov

Attomey for Plaintiff
Federal Trade Commission
600 Pennsylvania Ave., NW,
Mail Stop H-286
Washington, DC 20580

Fax: (202) 326-3395

Case 6:16-cv-OO982-CE|\/|-TBS Document 192 Filed 03/27/18 Page 4 of 6 Page|D 4952

CERTIFICATE OF SERVICE
1 hereby certify that on March 27, 2018, I served a true and correct copy of the
foregoing Notice by means of filing With the Court’s CM/ECF electronic filing system,
email, or mail on the counsel or parties of record on the Service List beloW:

Kevin W. Guice

3609 Oriskany Dr.

Orlando, FL 32820

Email: kwguice@bellsouth.net

Matthew Leibert, Esq.

200 S. Orange Ave., Suite 2000

Orlando, FL 32801

Email: leibert@urbanthier.com

Counsel for Relief Defendants Robert Guice and Timothy Woods

Mario Ceballos, Esq.

The Ceballos Law Firm, P.A.

638 Broadway Avenue, Orlando, Florida 32803-4540

Email: mceballos@ceballos-law.com

Counsel for Defendants Chase Jackowski, LPSofFLA LLC, LPSofFlorida L.L.C., YFP
Solutions LLC

David P. Hill, Esquire

LaW Offices of David P. Hill, P.A.

214 Annie Street, Orlando, Florida 32806-1208
Email: dphillpa@cfl.rr.com

Counsel for Individual Defendant Linda McNealy

Elias R. Hilal, Esquire

Williams Hilal Wigand Grande, PLLC

633 Southeast Third Avenue, Suite 301

Fort Lauderdale, Florida 33301

Email: elias@Wthegal.com

Counsel for Individual Defendants Clarence (“Harry”) Wahl and Karen Wahl

Case 6:16-cv-OO982-CE|\/|-TBS Document 192 Filed 03/27/18 Page 5 of 6 Page|D 4953

Harry Wahl, Registered Agent for Life Management Services of Orange County, LLC
c/o Elias R. Hilal, Esq., Counsel for Mr. Wahl
Email: elias@Wthegal.com

Linda McNealy, Registered Agent for Loyal Financial & Credit Services, LLC
c/o David P. Hill, Esquire, Counsel for Ms. McNealy
Email: dphillpa@cfl.rr.com

lnez Vest, Registered Agent for IVD Recovery, LLC
Email: Zeni0325@gmail.com

Karen Wahl, Registered Agent for KWP Services, LLC
c/o Elias R. Hilal, Esq., Counsel for Ms. Wahl
Email: elias@Wthegal.com

Harry Wahl, Registered Agent for KWP Services of Florida LLC
c/o Elias R. Hilal, Esq., Counsel for Mr. Wahl
Email: elias@Wthegal.com

Victoria Miller, Registered Agent for PW&F Consultants of Florida LLC
Email: miller.toriSZ@gmail.com

Michael Yager, Jr., Registered Agent for UAD Secure Service of FL LLC
Email: myagerjr@yahoo.com

Michael Yager, Jr., Registered Agent for UAD Secure Services LLC
Email: myagerjr@yahoo.com

Matthew Roberts, Registered Agent for URB Management, LLC
Email: msroberts@me.com

Christine Jones, Registered Agent for YCC Solutions LLC
c/o Heiko G. Moenckmeier, Esquire, Counsel to Ms. J ones
The Law Firrn of Heiko G. Moenckmeier

836 Highland Avenue, Orlando, Florida 32803 -3 941

Email: heikogeorge@gmail.com

Case 6:16-cv-OO982-CE|\/|-TBS Document 192 Filed 03/27/18 Page 6 of 6 Page|D 4954

Mark Bernet, Esquire

Akerman LLP

401 East Jackson Street, Suite 1700
Tampa, Florida 33602-5250

Email: mark.bernet@akerman.com
Receiver

/s/ Jennifer Hinton Knutton
Jennifer Hinton Knutton

